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                                                                                         Via ECF

May 18, 2020


The Honorable Victoria A. Roberts
Theodore Levin United States Courthouse
231 W. Lafayette Blvd., Room 1023
Detroit, MI 48226

Re:    Lin, et al. v. Crain Communications Inc., 2:19-cv-11889-VAR-AAP (E.D. Mich.)

Dear Judge Roberts:

        The undersigned represent Plaintiffs Gary Lin, Steve Crawford, and Forrest Schuck
(“Plaintiffs”) and Defendant Crain Communications Inc. (“Crain” or “Defendant”) in the above-
referenced action. Pursuant to the Court’s instruction, we write to summarize an outstanding
discovery dispute regarding Defendant’s Objections and Responses to Plaintiff’s First Set of
Requests for Production and First Set of Interrogatories (attached as Exhibits A and B). The
Parties have engaged in a number of good-faith telephonic meet-and-confer conferences and
have successfully resolved many of their disputes without Court intervention. However, they
have reached an impasse on the following threshold dispute: whether discovery in this action
should be limited to Autoweek magazine, or whether it should encompass all of Defendant’s
publications. Please find below the parties’ respective positions regarding this issue.

Plaintiffs’ Position: Throughout its Objections and Responses, Defendant objects on the basis
that the Request or Interrogatory “is not limited to Autoweek Magazine, which is the only
publication at issue in this case.” Exs. A & B. Defendant has refused to withdraw this objection.
But the objection is meritless, because the case is about all of Defendant’s magazine
publications, including but not limited to Autoweek.

         This is a putative class action wherein Plaintiffs allege that Defendant “sold, rented,
and/or otherwise disclosed, from within the State of Michigan, the Personal Reading Information
of its other subscribers to Autoweek magazine and Crain’s other publications between June 25,
2016 and July 30, 2016, [] in violation of the PPPA [Michigan’s Preservation of Personal
Privacy Act].” Second Amended Complaint (ECF No 28) (“SAC”) ¶ 2 (emphasis added). The
SAC also includes as exhibits list rental offerings from a list broker, Nextmark, including the
Autoweek Mailing List and the Crain’s Regional Publications Masterfile Mailing List. SAC Exs.
A & B. Moreover, “Plaintiffs seek to represent a class defined as all individuals in the United
States who, at any point in time between June 25, 2016 and July 30, 2016, had their Personal
Reading Information disclosed to third parties by Crain Communications Inc. without consent.”
SAC ¶ 55. Plaintiffs’ proposed class is not limited to Autoweek magazine subscribers.

        Nonetheless, Defendant argues that “Autoweek Magazine, … is the only publication at
issue in this case,” because the named Plaintiffs are subscribers to Autoweek. SAC ¶¶ 13-15.
Defendant’s objection is meritless. In the Sixth Circuit, “[o]nce [the named plaintiff’s] standing
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has been established, whether a plaintiff will be able to represent the putative class, including
absent class members, depends solely on whether he is able to meet the additional criteria
encompassed in Rule 23 of the Federal Rules of Civil Procedure.” Fallick v. Nationwide Mut.
Ins. Co., 162 F.3d 410, 423 (6th Cir. 1998). Thus, the Sixth Circuit has held in an analogous
context that “an individual in one ERISA benefit plan can represent a class of participants in
numerous plans other than his own, if the gravamen of the plaintiff’s challenge is to the general
practices which affect all of the plans.” Id. at 422. Here, likewise, Plaintiffs allege that
Defendant uniformly disclosed its customers’ Personal Reading Information across all of its
publications without consent. See, e.g., SAC ¶¶ 2-6; 46-54. And the Court has already
determined that the named Plaintiffs have standing to pursue their claims. See Lin v. Crain
Communications Inc., 2020 WL248445, at *6 (E.D. Mich. Jan. 16, 2020) (“Lin has standing to
bring suit under the PPPA.”). Accordingly, Plaintiffs are entitled to discovery regarding all of
Defendant’s publications, not just Autoweek magazine.

         Similar discovery disputes have been resolved in Plaintiffs’ favor in other PPPA putative
class actions against magazine publishers. For example, in Edwards v. Hearst Communications,
Inc., Case No. 15-cv-09279-AT-JLC (S.D.N.Y.), the defendant had allegedly made unlawful
disclosures of the plaintiff’s and the putative class’s personal reading information to a variety of
third-party data companies. See Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172, 180-83
(S.D.N.Y. 2017). The named plaintiff prevailed on summary judgment regarding the disclosures
to some of the third-party data companies, while the defendant prevailed on others. See id. at
201-02 (plaintiff prevailed on disclosures to Experian); id. at 206-07 (plaintiff prevailed on
disclosures to “Company 3”); id. at 202-04 (defendant prevailed on disclosures to “Company
1”); id. at 204-05 (defendant prevailed on disclosures to “Company 2”).1 In Phase II discovery,
the defendant objected to plaintiff’s discovery requests related to Company 1 and Company 2,
but the Court overruled that objection. See 10/27/17 Hearing Tr.; Edwards ECF No. 261 at 20:8-
23. As the Court held “the issue is whether the harm that the plaintiff suffered from disclosure to
Experian is the same as the harm that some other class member suffered from disclosure to
company 1 or company 2 or company 3. And by the way, company 4, 5, 6 and 7, same thing. It
doesn’t matter who the recipient is. What matters is, are they within the class as we pled it?” Id.
at 20:10-16; see also id. at 13:10-18 (“THE COURT: That’s a Rule 23 argument. That’s not a
Rule 26 argument. …. [Y]ou want me to tie the plaintiff’s hands behind their back in order for
them to try and make the arguments that they want to make, and I’m disinclined to do that.”).

       The same logic applies here. Whether Plaintiffs may ultimately represent class members
who subscribed to all of Defendant’s publications, or just Autoweek, is a Rule 23 issue, not a
Rule 26 issue. Accordingly, Plaintiffs are entitled to discovery regarding all of Defendant’s
publications, not just Autoweek magazine.




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  Discovery in the Hearst case was phased such that Phase I discovery was limited to the claims
of the named plaintiffs, and Phase II concerned the claims of the putative class. See Edwards,
ECF No. 40 ¶ 5. At the conclusion of Phase I discovery, both parties made motions for summary
judgment, and Phase II discovery commenced after the Court rendered a decision on those
motions. See Hearst, 269 F. Supp. 3d at 207.

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Crain’s Position: There is no good cause to expand discovery at this juncture beyond facts
related to Plaintiffs’ claims as to Autoweek magazine. Now on their third complaint, Plaintiffs
have still failed to produce any facts to show that they were even paid, direct subscribers to
Autoweek and have viable PPPA claims relating to that one publication, let alone anything that
would justify the broad discovery they seek regarding Crain’s publications other than Autoweek.
Instead, Plaintiffs’ own allegations, the record before the Court, and relevant authority support
limiting discovery in this action to Autoweek altogether, and certainly until the named Plaintiffs
themselves show they have viable PPPA claims.

        Each of the named Plaintiffs allege that they subscribed to only Autoweek. (Second
Amended Complaint (“SAC”), ECF No. 28, ¶¶ 13-15). And all of Plaintiffs’ allegations that
include any meaningful amount of detail and specificity pertain only to Autoweek. (Id. at ¶¶ 13-
15, 52, 70, 72, 78) (see also Id. at p. 27, heading) (“Autoweek Unlawfully Rents, Exchanges, And
Discloses Its Customers’ Personal Reading Information”). Notably, Plaintiffs base all of their
alleged injuries on charges they incurred as a result of their purchase price for Autoweek
magazine. (Id. at ¶ 88) (emphasis added).

         In asserting their “common course of conduct” theory—their sole basis for seeking
discovery into Crain publications other than Autoweek—Plaintiffs only offer conclusory and
unsupported allegations. The SAC lacks any factual allegations concerning specific acts,
practices, policies, or procedures by Crain during the class period that support a common course
of conduct theory. Rather, Plaintiffs merely tack on the phrase “and Crain’s other publications”
to their existing bare-bones allegations about Autoweek. (SAC at ¶¶ 2, 52, 63-65). And
Plaintiffs’ argument that the Masterfile mailing lists (SAC, ¶¶ 3-6; Exs. A, B) are proof of a
common course of treatment is a complete red herring. The Masterfile mailing lists attached by
Plaintiffs to their SAC were generated in May 2019 (Id.), nearly three years after the relevant
class period of June 25, 2016 to July 30, 2016. Further, and critically, these Masterfile mailing
lists were generated well after the PPPA was substantially amended to require a showing of
actual injury on the part of any aggrieved plaintiff. Thus, not only does the information and data
reflected on the 2019 Masterfile lists have nothing to do with any conduct or practices by Crain
during the relevant 2016 class period, these lists are not evidence of any misdeed by Crain at all.

        Plaintiffs’ unsubstantiated and misleading allegations are an insufficient basis to expand
discovery. See, e.g., Kraft v. Gongos, Inc., case no. 18-10745, 2019 WL 1594046 at *3-4 (E.D.
Mich. Apr. 14, 2019) (Roberts, J.) (denying conditional class certification where conclusory
allegations failed to provide evidence of common treatment beyond the experiences of
plaintiffs); Grenke v. Hearst Commc’ns, Inc., case no. 12-cv-14221, ECF No. 83, order on
discovery motion, p. 4 (E.D. Mich. Dec. 2014) (Steeh, J.) (limiting the 30(b)(6) deposition of
defendant to the specific publication to which plaintiff alleged he subscribed in the complaint
and disregarding plaintiff’s later declaration concerning other publications).

        Plaintiffs also incorrectly construe Fallick v. Nationwide Mut. Ins. Co., 162 F.3d 410 (6th
Cir. 1998) and this Court’s January 16, 2020 ruling on Defendant’s Motion to Dismiss (ECF. No.
10) for the proposition that “the Court has already determined that the named Plaintiffs have
standing to pursue their claims” and therefore Plaintiffs may seek “discovery regarding all of
Defendant’s publications, not just Autoweek magazine.” This is incorrect for at least two



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reasons:

        First, the defendant in Fallick itself admitted that it treated all of the employee plans that
plaintiff wished to include in its proposed class “uniformly.” Id. at *423. Here, not only is there
no such admission by Defendant, there is nothing on the record to support the premise that
Defendant engaged in a common course of conduct across all of its publications during the
putative class period. Second, this Court did not rule that all of the named Plaintiffs have
standing to pursue their claims on behalf of absent class members for publications to which they
never subscribed. Rather, this Court addressed only Plaintiff Lin’s statutory and constitutional
standing and then only as to Crain’s challenges related to his non-Michigan residency and
purported damages allegations. (See generally ECF No. 10).

        Here, in the two months since discovery commenced, Plaintiffs still have not produced
any evidence to support their own claims with regard to Autoweek, let alone claims concerning
absent class members involving other Crain publications. In fact, Plaintiffs still have not
produced evidence to establish (1) that they were Autoweek subscribers during the class period,
(2) that they purchased Autoweek directly from Crain, (3) that an actionable disclosure of
Personal Reading Information occurred, (4) or that they did not consent to have their Personal
Reading Information shared. Each of these issues is potentially dispositive of this litigation and
relates only to Autoweek. The Court should limit all discovery to Autoweek, the only publication
to which any of the Plaintiffs subscribed and the only publication that is relevant to this action.

        But even if the Court is not inclined to exclude discovery altogether regarding Crain’s
other publications, then this Court should still proceed now with discovery regarding the claims
of the named Plaintiffs themselves relating to Autoweek in order to give Defendant an
opportunity to move for summary judgment or to strike or limit class allegations following
discovery relating to their claims. As Plaintiffs concede in their portion of this joint letter, this is
consistent with the past practice of other federal courts adjudicating PPPA claims, and strikes a
fair balance between allowing Plaintiffs the discovery to prove their claims while shielding Crain
from overbroad, intrusive, and potentially irrelevant discovery in the first instance. Edwards v.
Hearst Commc’ns, Inc., case no. 15-cv-03934, ECF No. 40, case scheduling order, p. 2
(bifurcating discovery regarding named plaintiffs from class discovery as phases I and II,
respectively); Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172, 207 (S.D.N.Y. 2017)
(proceeding with phase II class discovery after ruling on cross motions for summary judgment
regarding named plaintiffs). Only if the named Plaintiffs establish a factual basis to proceed with
their own claims as to Autoweek beyond the summary judgment stage should discovery
regarding Crain’s alleged practices as to its other publications be allowed.

       Crain respectfully request this Court deny Plaintiffs’ request to expand the scope of
discovery beyond facts concerning named Plaintiffs’ claims as to Autoweek magazine.




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                                          Very truly yours,




                                          Philip L. Fraietta, Plaintiffs’ Counsel


                                          /s Jeffrey K. Lamb

                                          Jeffrey K. Lamb, Defendant’s Counsel

CC: All counsel of record (via ECF)




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